Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 1 of 6

EXHIBIT 1

Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 2 of 6

 

MATTHEW G. BEV!N
G()VERNOR

EXECUT|VE ORDER

2018-040
§r€::r::ary of State Janunry 12» 2018
Kentuclty

RELATING TO MEDICAID EXPANSION

 

WH.EREAS, Kentucky expanded its Medicaid Program under thc Patient
Prolcetion and Affordable Carc Act. Pub. L. No. 111-148. pursuant to executive action;
and

WHEREAS. under Section lllS(a) of the Social Security Act, the Secretary of
Health and Human Services is permitted to waive compliance with any of the requirements
of section 1902 of the Social Security Act in order to pilot or test projects which, in the
judgment ofthe Secretary. are likely to assist in "promoting the objectives“ of the Medieaid
program; and

WHEREAS, the Centers for Medicare & Medicaid Serviccs (CMS) issued an
information bulletin on November 6, 2017, setting forth changes and improvements to the
existing Section ll 15 waiver process, which includes re-dcl`tning the objectives that CMS
seeks to promote in approving Section l 115 waivers; and

WHEREAS. the objectives that CMS seeks to promote in approving Section 1115
waivers inelude: (a) improve access to high-qualily. person-centered services that produce
positive health outcomes for individuals‘, (b) promote efficiencies that ensure Mcdicaid‘s
sustainability for beneficiaries over the long term; (c) support coordinated strategies to
address certain health determinants that promote upward mobility. greater independencc,
and improved quality of life among individuals; td) strengthen heneiieiary engagement in
their personal healthcare plau, including incentive structures that promote responsible
decision-making; (e) enhance alignment between Medicaitl policies and commercial health

insurance products to facilitate smoother beneficiary transition, and (f) advance innovative

Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 3 of 6

 

MA'I'THEW G. BEVII\'
GOVERNOR
EXEC UT|VE ORDER
2018-040
Secreta of State
Frmt¢n,¢¢ ry .Ianuary 12, 2018
Kent\lcky

delivery system and payment models to strengthen provider network capacity and drive
greater value fo'r Medicaid‘, and

WHEREAS, the Commonweaith of Kentucky submitted a Section l I 15 Waiver
Application to CMS on August 24, 2016, pursuant to which the Commonwealth sought to
modify its Medicaid expansion program in order to empower and incentivize individuals
to improve their health outeomes, ameliorate their socioeconomic standing, and gain
employer sponsored coverage or other commercial health insurance coverage while
simultaneously ensuring the program’s long-term fiscal sustainability; and

WHEREAS, the objectives of Kcntucky's Section 1115 Waiver Application are
completely aligned with the revised objectives supporting the granting of Scction 1115
waivers as published by CMS on November 6, 2017; and

WHEREAS. CMS approved Kentuclcy`s Section 1115 Waiver Application on
January 12, 2018: and

WHEREAS. statistical data collected by the Commonwea|th confirms that merely
providing access to health care alone to Medicaid beneficiaries without simultaneously
addressing various social determinants of health and poverty does not meaningfully
correlate to better healdt outcomes for Medicaid beneficiaries; and

Wl-IEREAS, it is imperative for the long-term fiscal sustainability of the Medicaid
expansion program that all components of Kentucky°s Section 1115 Waiver and lite
accompanying Special Terrns and Conditions be implemented within the demonstration
period set forth in the Special Terms and Conditions; and

WHEREAS, the benefits to Medicaid beneficiaries from the implementation of
Kentucky's Section 1115 Waiver, entitled Kentucky l~lEAI.Tl-l. will be substantially

compromised in the event any one or more of tlte components of l(cntuclry'sl Section 1 1 15

Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 4 of 6

 

MATTHEW G. BEVIN
GOvERNOR

EXECUT|VE ORDER

Secreta of State 2018-040
F"'“'\T°" ry Jantlary 12, 2018
l\’¢ntucky

Waiver and the accompanying Special Terms and Conditions are prevented by judicial
action from being implemented within the demonstration period set forth in the Special
Terms and Conditions; and

WHEREAS. given all of the other financial obligations and commitments imposed
upon the Commonwealth under Kentucky’s Constitution, federal and Kentuclty statutes,
regulations and case law. the Commonwealth will not be able to afford to continue to
operate its Medicaid expansion program as cun'ent|y designed in the event any one or more
of the components of Kentucky's Section 1115 Waiver and the accompanying Special
Terms and Conditions are prevented by judicial action from being implemented within the
demonstration period set forth in the Special ’I`erms and Conditions; and

Wl-[EREAS, the Commonwealth has invested significant resources in preparing
for the implementation of Kentuclcy's Section 1115 Waiver, and any delay in the
implementation of the Waiver due to judicial action will cause fiscal harm to thc
Commonwealth and will prevent Medicaid beneficiaries from realizing the benefits under
the Waiver:

NOW, THEREFORE, l. Matthew G. Bevin, Govemor of the Commonwealth of
Kentucky. by virtue of the authority vested in me by Section 69 of the Constitution of the
Commonwealth of Kentucky. do hereby Order and Direct the following:

l. ln the event one or more of the components of Kentucky’s Section 1 115 Waiver
and the accompanying Special Terms and Conditions are prohibited from being
implemented pursuant to a final judgment issued by a court of competent
jurisdiction, with all appeals of the judgment having been exhausted or waived. Iltl=
Secretary of tlte Cabinet for Health and Family Serviccs and the Commissioner of
the Department for Medicaid Services within the Cabinet for Health and Family
Sct'vices are hereby directed to take the necessary actions to terminate Kentucky's
Medicaid expansion program no later than six months from the date on which all
appeals of the judgment have been exhausted or waived. or otherwise as soon as

legally practicable under the remaining terms of the Special Terms and Conditions.
applicable statutes or regulationsl

Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 5 of 6

 

MATTH EW G. BEV|N

GOVERNOR
EXEC UT|VE ORDER
2018-040
§rs:tii:rt¢ary or State January 12, 2018
Kentueky

m
/MA'r'rHEw o. BEvtN. oovemor
Commonwealth of Kentucky

 

ALISON LUND RGAN
Secretary of State

Case 1:18-Cv-00152-.]EB Document 25-1 Filed 03/05/18 Page 6 of 6

-rI-.r-*
-W’

'\
. _}
f
+\
`\
»'r a» ¢--- -¢-.»--¢l-d

f
l
l
t

.s, .- '__. .‘,.,_.

-4-_- -
-u_-\_l..

 

lLI_-" 1.
l 1 -
ll F '_
.-'\ _r- ‘ v
t -’ -'
1 .
i l l
h .‘ _ `
.'\l-I'l|I-l § - ~
lv * t
.* l :" -'
* *.H\
‘ .
§ l
l r
1-rli""|~ l l
_ l
.l
q map ' : f
w _ r1. ' ;
h
' l
\. .
l .
o
f
l
1 l
l
l
l
t t
d
‘ .'
l ll
l
l
l
l
l
i
l
l
l
" if
I-l.lli-¢-I l
‘ n
id ,
dr la .
.__` "`
l -'l.,

`._ ._
*`4 I*-\

-r- ---1\.-

